                               Case: 18-14486                 Doc: 6   Filed: 10/26/18            Page: 1 of 2

Information to identify the case:
Debtor 1              Pauline Rodriquez                                                 Social Security number or ITIN        xxx−xx−7774
                      First Name   Middle Name    Last Name                             EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name    Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Western District of Oklahoma                  Date case filed for chapter 7 10/25/18
Case number: 18−14486 − SAH


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                              12/17

      For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code.
                                  An order for relief has been entered.

This notice has important information about the case for creditors, debtors, and trustees, including
       information about the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

                          The staff of the bankruptcy clerk's office cannot give legal advice.
To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Pauline Rodriquez
2.      All other names used in the aka Paula Rodriquez
        last 8 years

3.      Address                                  600 S. 16th
                                                 Clinton, OK 73601
4.      Debtor's attorney                        Richard J. Phillips                                 Contact phone (580) 323−3044
        Name and address                         423 Frisco Avenue                                   Email: rjphill@swbell.net
                                                 Clinton, OK 73601
5.      Bankruptcy trustee                       John D. Mashburn                                    Contact phone 405−726−9795
        Name and address                         1616 E 19th Street, Suite 301A                      Email: ecf@mashburnlaw.net
                                                 Edmond, OK 73013
                                                                                                               For more information, see page 2 >
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Debtor Pauline Rodriquez                                                                                                  Case number 18−14486


6. Bankruptcy clerk's office                      215 Dean A. McGee                                           Hours open: 8:30am − 4:30pm
                                                  Oklahoma City, OK 73102
    Documents in this case may be filed at this                                                               Contact phone (405) 609−5700
    address. You may inspect all records filed
    in this case at this office or online at
    www.pacer.gov.                                                                                            Date: 10/26/18


7. Meeting of creditors                           November 27, 2018 at 02:00 PM                               Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a              215 Dean A. McGee Avenue,
    questioned under oath. In a joint case,       later date. If so, the date will be on the court            Room 113, Oklahoma City, OK
    both spouses must attend. Creditors may
    attend, but are not required to do so.        docket.                                                     73102


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                      File by the deadline to object to discharge or              Filing deadline: 1/28/19
                                                  to challenge whether certain debts are
    The bankruptcy clerk's office must            dischargeable:
    receive these documents and any
    required filing fee by the following          You must file a complaint:
    deadlines.                                    • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of
                                                    the subdivisions of 11 U.S.C. § 727(a)(2)
                                                    through (7), or
                                                  • if you want to have a debt excepted from
                                                    discharge under 11 U.S.C. § 523(a)(2),
                                                    (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be
                                                    denied under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as         conclusion of the meeting of
                                                  exempt. If you believe that the law does not authorize an   creditors
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                  debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                  objection by the deadline to object to exemptions in line 9.

           A Photo ID is required to enter the building. Weapons, including pocket knives, are not permitted in the building.

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